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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCKDIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                           NO. 5:21-CR-113-01-H

MILTON GARNER, JR.,
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TIIE I,JNTTED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GI,JILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OXl), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated December         2021




                                            .IAMES       SLEY   NDRIX
                                               IITR    STATES DISTRICT JUDGE
